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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                            CIVIL ACTION FILE

                                            NO. 1:18-CV-5391-SCJ
v.

BRAD RAFFENSPERGER, et al.,

     Defendants.


                                    ORDER


        On February 10, 2020, this Court entered an order directing Defendants

to “define the group of persons (i.e., current and former employees since 2016)

who are authorized to make privileged communications on behalf of the

Elections Division of the Georgia Secretary of State’s Office.” Doc. No. [226],

pp. 1–2. This was done in anticipation of Defendants’ forthcoming privilege

log. Defendants timely responded on February 14, 2020. See Doc. No. [235].

However, it appears the Court’s order requires clarification.

        Defendants stated that “any employee or agent of the Secretary’s Office

may have privileged conversations with counsel.” Doc. No. [235], p. 3. The

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Court recognizes that this is true, depending on the content of the

communication. The Court’s order, however, was intended to elicit a list of

those counselors Defendants believe are entitled to make privileged

communications. It is not the case that any employee with a juris doctor is an

entity’s counsel for purposes of attorney-client privilege. Otherwise, “[c]oncern

has been expressed . . . that the privilege would afford organizations ‘zones of

silence’ that would be free of evidentiary scrutiny.” Restatement (Third) of the

Law Governing Lawyers § 73 (2000).

       Thus, as the Third Restatement notes, “[t]he first [pivotal question] is

defining the group of persons who can make privileged communications on

behalf of an organization.” Id.

               Not privileged are communications with a person
               who is a lawyer but who performs a predominantly
               business function within an organization, for example
               as a director or nonlegal officer of a corporation.
               When a person in such a role performs legal services
               for the client organization, the privilege applies.
               Whether a purpose is significantly that of obtaining
               legal assistance or is for a nonlegal purpose depends
               upon the circumstances, including the extent to which
               the person performs legal and nonlegal work, the
               nature of the communication in question, and
               whether or not the person had previously provided
               legal assistance relating to the same matter.

Id. at § 72.

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      The Court appreciates Defendants’ timely response to its order. Pursuant

to this clarification, Defendants are ORDERED to provide a list of counselors

they believe are entitled (or were entitled) to make privileged communications

on behalf of the Elections Division of the Secretary of State’s Office since 2016

by 5:00pm on Thursday, February 20, 2020.

      IT IS SO ORDERED this 18th day of February, 2020.

                                      s/Steve C. Jones
                                      HONORABLE STEVE C. JONES
                                      UNITED STATES DISTRICT JUDGE




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